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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  JEFFREY ALLEN ROWE,                                   )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )       No. 1:17-cv-03288-JPH-DLP
                                                        )
  ALICIA D. COOMER,                                     )
  JEFFERY GLOVER,                                       )
  BROWN,                                                )
                                                        )
                                Defendants.             )


                                               ORDER

         The final pretrial conference in this action is scheduled for February 25, 2021, at

  1:30 p.m., in Room 246, United States Courthouse, 46 E. Ohio Street, Indianapolis, IN 46204. To

  facilitate the conference, and ultimately the trial—scheduled to start on March 15, 2021, at

  9:00 a.m.—the Court now ORDERS as follows.

         Voir dire. Absent specific objection raised before and sustained at the final pretrial

  conference, the Court will examine the venire using some or all of the questions attached as

  Exhibit 1. Objections or proposed supplements to the Court’s proposed voir dire must be filed by

  February 11, 2021. Any proposed supplemental questions must include (1) whether any party

  objects to the proposed questions and (2) if there is any objection, that the parties have met and

  conferred to resolve it. The parties will be permitted to ask questions of the venire after the Court

  has completed its questions, subject to a time limit to be decided at the final pretrial conference.

  Any response to an objection or proposal must be filed by February 18, 2021.

         Joint case synopsis. As part of voir dire and the preliminary jury instructions, the Court

  will read a brief case synopsis of the claims and defenses in this action. The parties shall meet and
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  confer to create an agreed joint case synopsis. If the parties cannot agree, each may file its own

  proposed case synopsis. The case synopsis must be filed by February 11, 2021. Counsel must

  be prepared to present argument on competing case synopses at the final pretrial conference.

         Proposed preliminary instructions. Absent specific objection raised before and sustained

  at the final pretrial conference, the Court will give the jury the Court’s proposed preliminary

  instructions attached as Exhibit 2 at docket number 156-2. Objections or proposed supplements

  to the Court’s proposed preliminary instructions must be filed by February 11, 2021. Any

  proposed revisions or supplemental instructions must include (1) whether opposing counsel objects

  to the proposed instructions and (2) if there is any objection, that the parties have met and conferred

  to resolve it. Responses to any proposal must be filed by February 18, 2021.

         Proposed general final instructions. Absent specific objection raised before and sustained

  at the final pretrial conference, the Court will give the jury the Court’s proposed final instructions

  attached as Exhibit 3 at docket number 156-3. Objections or proposed supplements to the Court’s

  proposed final instructions must be filed by February 11, 2021. Any proposed revisions or

  supplemental instructions must include (1) whether opposing counsel objects to the proposed

  instructions and (2) if there is any objection, that the parties have met and conferred to resolve it.

  Responses to any proposal must be filed by February 18, 2021.

         Case-specific final instructions. The parties shall meet and confer to create agreed

  proposed case-specific final instructions. For any instruction that the parties cannot agree on, each

  party may file its own proposal with a brief statement giving the source and rationale for the

  instruction and citations supporting it. Proposed case-specific final instructions must be filed by




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  February 11, 2021. Any responses must be filed by February 18, 2021. Counsel must be

  prepared to present argument on case-specific final instructions at the final pretrial conference.

         Verdict forms. The parties shall meet and confer to create an agreed verdict form. If the

  parties cannot agree, each may file its own proposed verdict forms. Proposed verdict forms must

  be filed by February 11, 2021. Any responses must be filed by February 18, 2021. Counsel must

  be prepared to present argument about competing verdict forms at the final pretrial conference.

         Witness List. By no later than January 11, 2021, the parties shall file a list of trial

  witnesses, by name, who are actually expected to be called to testify at trial. The witness list shall

  include a brief summary of each witness’ expected testimony. Objections to any witnesses must

  be filed by January 25, 2021.

         Exhibit List. By no later than January 11, 2021, the parties shall file an Exhibit List, of

  all exhibits that will be used during trial. This list may not include any exhibits not previously

  disclosed to the other party. The exhibit list shall be in the format attached as Exhibit 4 at docket

  156-4. The list must include a description of each exhibit and the identifying designation. The

  exhibit list may not describe exhibits by category, such as “all exhibits identified in discovery.”

  Stipulations as to the authenticity and admissibility of exhibits are encouraged to the greatest extent

  possible. Objections to any exhibits must be filed by January 25, 2021.

         Stipulations. By no later than February 18, 2021, all stipulations of facts must be

  submitted in writing to the Court. Stipulations are always encouraged so that at trial, the parties

  can concentrate on relevant contested facts.

         Depositions. A party who intends to offer any dispositions into evidence during the party’s

  case in chief shall prepare and file with the Court and copy to all opposing parties either:


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             •   Brief written summaries of the relevant facts in the depositions that will be offered.

                 (Because such summary will be used in lieu of the actual deposition testimony to

                 eliminate time reading depositions in a question and answer format, this is strongly

                 encouraged.); or

             •   If a summary is inappropriate, a document which lists the portions of the

                 deposition(s), including the specific page and line numbers, that will be read, or, in

                 the event of a video-taped deposition, the portions of the deposition that will be

                 played, designated specifically by counter-numbers

         Exhibit Binders. The defendants shall prepare three copies of a binder containing all of the

  exhibits on their exhibit list, identified in a manner consistent with Exhibit 4. The plaintiff shall

  prepare three copies of his exhibits on his exhibit list, identified in a manner consistent with

  Exhibit 4. The parties shall provide all three copies to the Court at the final pretrial conference.

  The plaintiff’s copies will be hole punched and inserted into the binder.

         Motions in limine. Any motions in limine must be filed by February 11, 2021. Responses

  must be filed by February 18, 2021.

         Other motions. Any other motions that need to be resolved at the Final Pretrial Conference

  must be filed by February 11, 2021. Responses must be filed by February 18, 2021.

         Additional issues to be discussed at the final pretrial conference.

             •   Stipulations

             •   Jury selection

             •   Discovery

             •   Settlement

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            •   Anticipated use of any evidence presentation equipment

            •   Separation of witnesses at trial

            •   Security/Restraints

            •   Plaintiff’s attire

         Before the final pretrial conference, the parties must also review the Court’s Practices and

  Procedures, available on the Court’s website at https://www.insd.uscourts.gov/content/judge-

  james-patrick-hanlon.

  SO ORDERED.

  Date: 10/30/2020




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